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                             UNITED STATES BANKRUPTCY COURT
                           FOR THE WESTERN DISTRICT OF MICHIGAN

    In Re
                                                         Case No: 19-04258 (SWD)
    NAJEEB AHMED KHAN,                                   Chapter 11

                     Debtor.


              ORDER APPROVING SALE AND AUTHORIZING CHAPTER 11
               TRUSTEE TO ENTER INTO ESCROW AGREEMENT WITH
            NANCY KHAN REGARDING PROCEEDS OF REAL PROPERTY SALE
                    (23411 Lakeview Drive, Edwardsburg, Michigan)

            This matter comes before the Court on Chapter 11 Trustee’s Motion for Approval of Sale

and Authority to Enter Into Related Escrow Agreement With Nancy Khan (23411 Lakeview Drive,

Edwardsburg, Michigan) [Docket No. 278] (the “Motion”);1 and the Court having reviewed the

Motion; and the Court having determined that there is good and sufficient cause for the relief set

forth herein; and the Court having jurisdiction to consider the Motion and the relief requested

therein in accordance with 28 U.S.C. §§ 157 and 1334; and it appearing that proper and adequate

notice of the Motion has been given and that no other or further notice is necessary; and after due

deliberation thereon; and good and sufficient cause appearing therefor, it is hereby

ORDERED, ADJUDGED AND DECREED THAT:

            1.      The Motion is granted as set forth herein.

            2.      The sale of 23411 Lakeview Drive pursuant to the terms of the Sale Agreement is

hereby approved.

            3.      The Chapter 11 Trustee is authorized to take any actions consistent with this order

and in furtherance of the sale of 23411 Lakeview Drive.



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            Capitalized terms used but not otherwise defined herein shall have the same meanings ascribed to them in
            the Motion.
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       4.      Contemporaneously with the closing of the sale of 23411 Lakeview Drive, the

Chapter 11 Trustee is authorized and directed to enter into an escrow agreement with Nancy Khan

that incorporates the following terms (the “Escrow Agreement”):

                     As part of the closing, Mrs. Khan and the Chapter 11 Trustee
                      will escrow the Purchase Price, less the broker’s commission
                      and any other items required by the Sale Agreement to be paid
                      at the closing (the “Sale Proceeds”);

                     The Chapter 11 Trustee will open a segregated account at
                      Axos Bank (the “Segregated Account”) for the sole purpose
                      of holding the Sale Proceeds; and

                     The Chapter 11 Trustee will not be permitted to use the funds
                      in the Segregated Account for any purpose absent further
                      order of this Court.

       5.      Notwithstanding the sale of 23411 Lakeview Drive, the estate’s and Mrs. Khan’s

respective interests in 23411 Lakeview Drive are preserved and shall continue in the Sale Proceeds

unaffected in any way by the sale, with each party’s claims and interests in the Sale Proceeds to

be determined as if 23411 Lakeview Drive had not been sold.

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        6.      This Order has immediate effect and will not be stayed under Fed. R. Bankr. P.

 6004(h).

                                      END OF ORDER

  Order prepared and submitted by:

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IT IS SO ORDERED.
Dated December 15, 2019
